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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

ATLAS AIR, INC. and SOUTHERN AIR
INC.,
                                        Civil Action No. 1:19-cv-03223-CRC
              Plaintiffs,

      v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION

and

AIRLINE PROFESSIONALS ASSOC. OF
THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO. 1224

and

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS LOCAL 2750,

              Defendants.



      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                      SUMMARY JUDGMENT
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                                PRELIMINARY STATEMENT

       Plaintiffs Atlas Air, Inc. (“Atlas”) and Southern Air Inc. (“Southern”) file this lawsuit

under the Railway Labor Act, 45 U.S.C. §§ 151 et seq. (the “RLA”) against Defendants

International Brotherhood of Teamsters, Airline Division (“IBT Airline Division”), the Airline

Professionals Association of the International Brotherhood of Teamsters, Local Union No. 1224

(“Local 1224”), and International Brotherhood of Teamsters Local 2750 (“Local 2750”)

(collectively, “Defendants” or the “Union”) to enforce two arbitration awards with which the

Defendants have refused to comply. The Atlas System Board of Adjustment, chaired by neutral

arbitrator George Nicolau, and the Southern System Board of Adjustment, chaired by neutral

arbitrator Richard I. Bloch, have both issued arbitration awards (the “Awards”) against the

Union, finding that the Union has violated provisions in the carriers’ collective bargaining

agreements (“CBAs”) with the Union which require the formulation of a joint CBA (“JCBA”)

covering the combined pilot group as a result of a merger between Atlas and Southern (the

“Merger Provisions”). As a remedy arising out of these two separate arbitrations, the Awards

each require that the Union promptly comply with the Merger Provisions – first by submitting an

integrated seniority list (“ISL”) within 45-days of each Award (i.e., by July 27, 2019 (Southern)

and October 10, 2019 (Atlas)), and then by beginning a contractually-mandated nine-month

period of negotiation for a JCBA followed by an interest arbitration on any unresolved

bargaining issues. It has now been well-over three years of grievances, federal court litigation,

and ultimately arbitration, since Atlas and Southern first sought to have the Union comply with

the Merger Provisions of each carriers’ CBA. The Awards’ deadlines for submitting the ISL

have now long-passed, and the Union has failed and refused to comply with those deadlines.

Atlas and Southern therefore ask this Court to enforce the Awards, including compelling the




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Union immediately to deliver an ISL to Atlas and Southern and to participate in the

contractually-mandated procedure for formulating a JCBA.

       Under the RLA, “[o]nce the appropriate adjustment board enters an award, its decision

is enforceable in the federal courts . . . and is subject to narrow judicial review.” Indep. Ass’n of

Cont’l Pilots v. Cont’l Airlines, 155 F.3d 685, 690 (3d Cir. 1998) (citing Int’l Ass’n of

Machinists, AFL CIO v. Central Airlines, Inc., 372 U.S. 682, 685 (1963)). “Unless the arbitral

decision does not draw its essence from the collective bargaining agreement, a court is bound to

enforce the award and is not entitled to review the merits of the contract dispute.” Sullivan v.

Endeavor Air, Inc., 2016 WL 614391, at *7 (D. Minn. Feb. 16, 2016) (quoting W.R. Grace &

Co. v. Local Union 759, Int’l Union of United Rubber, Cork, Linoleum & Plastic Workers of

Am., 461 U.S. 757, 764 (1983)). When a party has failed to comply with a date-certain deadline

set down by an award, the time is ripe to enforce the arbitration award. Bhd. of Locomotive

Engineers & Trainmen Gen. Comm. of Adjustment CSX Transp. N. Lines v. CSX Transp., Inc.,

522 F.3d 1190, 1194 (11th Cir. 2008) (finding “failure to comply within the time limit

established by the award the triggering event for an enforcement action”).

       Each Arbitrator’s Award carefully considered the applicable CBA language, recounted

the parties’ arguments regarding the meaning of the CBA language, and came to a determination

– based on each Arbitrators’ interpretation of the CBA – that the Union had violated the

applicable CBA by failing to comply with the Merger Provisions. As such, the Arbitrators’

decisions drew their essence from the CBA. Because the Arbitrators had exclusive jurisdiction

under the RLA to make those final and binding determinations, they cannot be re-litigated in

federal court. The Union’s refusal to comply with these Awards by providing Atlas and

Southern with an ISL within their 45-day deadlines renders the Awards ripe for enforcement.




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                                   STATEMENT OF FACTS

       A.      The Merger of Atlas and Southern

       Atlas and Southern are both commercial air carriers with national and international

operations. (Statement of Undisputed Material Facts (“Fact Statement”) ¶ 1.) The National

Mediation Board has certified the IBT Airline Division as the collective bargaining

representative of both the Atlas and Southern pilots under the RLA. 1 (Id. ¶ 2.) Atlas and the

Union are parties to a CBA (the “Atlas CBA”), effective September 8, 2011, that governs the

rates of pay, rules, and working conditions of Atlas pilots. (Id. ¶ 7.) Similarly, Southern and the

Union are parties to a CBA (the “Southern CBA”), effective November 6, 2012, that governs the

rates of pay, rules, and working conditions of Southern pilots. (Id. ¶ 8.) The Atlas and Southern

CBAs became amendable on September 8, 2016 and November 6, 2016 respectively. (Id. ¶ 9.)

       Atlas is a wholly-owned subsidiary of Atlas Air Worldwide Holdings, Inc. (“AAWW”).

(Id. ¶ 10.) On January 19, 2016, AAWW issued a press release announcing that it intended to

acquire Southern Air Holdings, Inc., the corporate parent of Worldwide Air Logistics Group,

Inc., which in turn owned Southern. (Id. ¶ 11.) On April 7, 2016, AAWW’s acquisition of

Southern Air Holdings, Inc. became effective, and Southern is also a wholly-owned subsidiary of

AAWW. (Id. ¶ 12.)




1
  Local 1224 is the local collective bargaining agent designated by the IBT Airline Division to
represent the Southern pilots and manage day-to-day pilot labor relations with Southern. (Fact
Statement ¶ 3.) On October 11, 2019, Defendant Local 2750 was chartered by the International
Brotherhood of Teamsters as the designated representative of Atlas pilots. (Id. ¶ 4.) Local 2750
is temporarily headquartered at IBT Local 100’s headquarters in Cincinnati, Ohio. (Id. ¶ 5.)
Prior to October 11, 2019, Defendant Local 1224 was designated as the representative of both
the Atlas pilots and the Southern pilots. (Id. ¶ 6.)

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       B.      The Union’s Refusal to Comply With the Provisions of the Atlas and Southern
               CBAs

       Both the Atlas and Southern CBAs provide a negotiation and interest arbitration process

for formulating the terms of a JCBA to govern the combined group of pilots of the carriers in the

event of a merger. (Id. ¶ 13.) Section 1.F.2 of the Atlas CBA provides that:

               2.      In the event (i) the Company acquires another air carrier and
               the Company decides there will be a complete operational merger
               between the Company and such other air carrier, or if the Company
               notifies the Union of its intent to integrate the Crewmember
               seniority lists of the respective carriers, or (ii) in the event the
               Company decides there will be a complete operational merger
               between the Company and an affiliated air carrier, or if the Company
               notifies the Union of its intent to integrate the Crewmember
               seniority lists of the Company and an affiliated air carrier, the
               following shall apply:
               …
               a. Seniority List Integration:
                       i. If the Union represents the Crewmembers of the carrier to
               be merged with the Company then the Union’s Merger Policy shall
               be utilized to integrate the two seniority lists.
               …
               b.      Collective Bargaining Agreements:
               …
                       iii. [i]f the crewmembers of the acquired carrier are
               represented by the Union, then the parties shall on a timely basis
               begin negotiations to merge the two pre-integration collective
               bargaining agreements into one agreement. If a merged agreement
               has not been executed within nine (9) months from the date that the
               Union presents to the Company a merged seniority list that complies
               with the provisions of this paragraph F. 2, the parties shall jointly
               submit the outstanding issues to binding interest arbitration.

               (Id. ¶ 14.)

       Similarly, Section 1.B.3 of the Southern CBA provides that:

               3.      In the event of a merger, this Agreement shall be merged
               with the merging air carrier’s crewmember collective bargaining
               agreement, if any; if such merged agreement is not completed within
               nine (9) months from the date an integrated Master Seniority List is
               submitted to the surviving entity, the parties shall submit all
               outstanding issues to binding interest arbitration.



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               (Id. ¶ 15.)

       Both CBAs mandate that, once their respective provisions have been triggered, the parties

must engage in negotiation and interest arbitration, if necessary, within nine months of the Union

providing an ISL. (Id. ¶ 14-15.)

       After Atlas announced that it intended to implement a complete operational merger with

Southern and to integrate the crewmember seniority lists, the Union took the position that Section

1.F and Section 1.B.3 of the respective CBAs do not apply, and refused to bargain for a JCBA or

provide the ISL that would start the nine-month clock for negotiation prior to any necessary interest

arbitration. (Id. ¶ 16.) Atlas and Southern took the contrary position that the Merger Provisions

have been triggered. (Id. ¶ 17.) Therefore, in order to resolve this dispute over the interpretation

and application of the CBAs, Atlas filed a management grievance under the Atlas CBA on April

14, 2016, and Southern filed a management grievance under the Southern CBA on January 24,

2017. (Id. ¶ 18.) The Union claimed these grievances were not arbitrable and refused to submit

them to arbitration, causing Atlas and Southern to file a federal court lawsuit on February 7, 2017

to compel arbitration. (Id. ¶ 19.) On March 13, 2018, Judge Forrest of the U.S. District Court for

the Southern District of New York issued an opinion and order rejecting the Union’s arguments

and granting the carriers’ motion for summary judgment, concluding that the Union’s refusal to

arbitrate violated the RLA, and compelling arbitration of both management grievances. (Id. ¶ 20);

See Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 293 F. Supp. 3d 457 (S.D.N.Y. 2018). The IBT’s

appeal from that ruling is pending before the U.S. Court of Appeals for the Second Circuit. (Fact

Statement ¶ 21.)

       C.      The Atlas and Southern Management Grievance Arbitrations

       Southern’s grievance was heard in October 2018 before the Southern System Board of

Adjustment chaired by Neutral Arbitrator Richard I. Bloch. (Id. ¶ 22.) Southern and the Union


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participated in three days of hearing and both submitted extensive post-hearing briefs. (Id. ¶ 23.)

Arbitrator Bloch issued a ruling on June 12, 2019 in favor of Southern on all issues. (Id. ¶ 24.)

In his ruling, Arbitrator Bloch concluded the Union violated its obligations under Section 1.B of

the Southern CBA to provide Southern an ISL and to negotiate (and interest arbitrate if

necessary) for a JCBA. (Id. ¶ 25.) To remedy this violation, and in light of the over three-years’

delay, Arbitrator Bloch ordered that the Union produce an ISL within 45 days so the parties

could begin the JCBA negotiation process contemplated by Section 1.B. (Id. ¶ 26.) Arbitrator

Bloch found this remedy was necessary to remedy the “delay inspired by the Union’s

misapprehension of the contractual requirements” and concluded the Union “must now respond

vigorously to the Company’s request to proceed.” (Id. ¶ 27.) Pursuant to Arbitrator Bloch’s

Award, the Union was required to deliver the ISL to Southern by July 27, 2019. (Id. ¶ 28.)

       Atlas’ grievance was heard before the Atlas System Board of Adjustment chaired by

Neutral Arbitrator George Nicolau also in October 2018. (Id. ¶ 29.) The parties participated in

three days of hearing and submitted extensive post-hearing briefing. (Id. ¶ 30.) Arbitrator

Nicolau came to a similar conclusion as Arbitrator Bloch – holding that the Union had violated

Section 1.F of the Atlas CBA by refusing to provide Atlas with an ISL and refusing to engage in

the contractually-mandated process for formulation of a JCBA. (Id. ¶ 31.) Arbitrator Nicolau’s

Award, dated August 26, 2019, required the Union to comply with the merger provisions of

Section 1.F, including by “promptly submitting an ISL, negotiating for a JCBA, and submitting

unresolved bargaining issues to binding interest arbitration.” (Id. ¶ 32.) Arbitrator Nicolau

defined “promptly” as 45 days based in part on “the time that has passed since the original

announcement” of Atlas’ intention to merge the two carriers. (Id. ¶ 33.) Pursuant to Arbitrator

Nicolau’s Award, the Union was required to deliver the ISL to Atlas by October 10, 2019,




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thereby starting – no later than October 11, 2019 – the nine-month clock for negotiation of a

JCBA prior to any interest arbitration. (Id. ¶ 34.)

       As of the filing of this Motion – 141 days after issuance of Arbitrator Bloch’s Award and

66 days after issuance of Arbitrator Nicolau’s Award – the Union has failed and refused to

provide the ISL to Atlas or Southern, despite being required to do so by both Awards and written

demands from the carriers for submission of an ISL. (Id. ¶ 35.) Instead, on June 28, 2019 and

September 11, 2019 respectively, the Union filed complaints to vacate the Southern and Atlas

arbitration Awards. (Id. ¶ 36.) On July 26, 2019 and October 11, 2019 respectively, Southern

and Atlas filed motions to dismiss the Union’s complaints, which are currently pending. (Id. ¶

37); see Mem. of Law in Support of Mot. to Dismiss Pls.’ Compl. and Pet. to Vacate Arbitration

Award, Int’l Bhd. of Teamsters, Airline Division v. Southern Air, Inc., 1:19-cv-01948-CRC, Dkt.

4 (D.D.C. July 26, 2019); Mem. of Law in Support of Mot. to Dismiss Pls.’ Compl. and Pet. to

Vacate Arbitration Award, Int’l Bhd. of Teamsters, Airline Division v. Atlas Air, Inc., 1:19-cv-

02723-CRC, Dkt. 4 (D.D.C. October 11, 2019).

                                          ARGUMENT

       Summary judgment is to be granted if “there is no genuine dispute as to any material

fact,” thereby entitling the moving party to judgment as a matter of law. Fed. R. Civ. P. 56(a).

“The mere existence of some factual dispute is insufficient on its own to bar summary judgment;

the dispute must pertain to a ‘material’ fact. Accordingly, ‘[o]nly disputes over facts that might

affect the outcome of the suit under the governing law will properly preclude the entry of

summary judgment.’” Wood v. Am. Fed’n of Gov’t Employees, 316 F. Supp. 3d 475, 480

(D.D.C. 2018) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)) (emphasis in

original). “In suits to enforce arbitration awards, cross-motions for summary judgment are often

the appropriate procedural path to judgment. Legal issues tend to predominate.” United Transp.


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Union v. CSX Transp. Inc., 2006 WL 3198811, at *1 (S.D. Ind. July 20, 2006). This dispute

turns entirely on a legal issue, and the minimal facts required for the Court to rule on the legal

issue are undisputed. Therefore, Plaintiffs more than satisfy this standard.

           A. The Union is Violating the Atlas and Southern Awards By Refusing to Provide
              the ISL

       “Once the appropriate adjustment board enters an award, its decision is enforceable in the

federal courts . . . and is subject to narrow judicial review.” Cont’l Airlines, 155 F.3d at 690

(citing Central Airlines, Inc., 372 U.S. at 685). “Unless the arbitral decision does not draw its

essence from the collective bargaining agreement, a court is bound to enforce the award and is

not entitled to review the merits of the contract dispute.” Sullivan, 2016 WL 614391, at *7

(quoting W.R. Grace & Co. 461 U.S. at 764).

       As the Supreme Court has made clear, an arbitrator’s authority to craft a remedy is

subject to substantial deference:

       When an arbitrator is commissioned to interpret and apply the collective
       bargaining agreement, he is to bring his informed judgment to bear in order to
       reach a fair solution of a problem. This is especially true when it comes to
       formulating remedies. There the need is for flexibility in meeting a wide variety
       of situations. The draftsmen may never have thought of what specific remedy
       should be awarded to meet a particular contingency.

United Steelworkers of Am. v. Enter. Wheel & Car Corp., 363 U.S. 593, 597 (1960). Thus, when

a party breaches a CBA, and the remedy ordered by the arbitrator cures the breach, that remedy

draws its essence from the CBA. See Dexter Axle Co. v. Intl. Ass’n. of Machinists Workers, Dist.

90, Lodge 1315, 418 F.3d 762, 769 (7th Cir. 2005) (“It would make no sense for the arbitrator to

be helpless to provide redress for the company’s breach.”).

       Here, there can be no doubt that both Arbitrators’ Awards drew their essence from each

respective carrier’s CBA and complied with the substantive provisions of the RLA. During both

arbitrations, the Arbitrators considered three days of testimony and post-hearing briefing. (Fact


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Statement ¶¶ 23; 30.) As explained in greater detail in Southern’s Motion to Dismiss the

Union’s Petition to Vacate the Southern System Board Award, Arbitrator Bloch issued a 24-page

decision that carefully analyzed how the various provisions of the Southern CBA applied to the

parties’ dispute. See Mem. of Law in Support of Mot. to Dismiss Pls.’ Compl. and Pet. to Vacate

Arbitration Award, Int’l Bhd. of Teamsters, Airline Division v. Southern Air, Inc., 1:19-cv-

01948-CRC, Dkt. 4 (D.D.C. July 26, 2019); (Fact Statement ¶ 24.) He concluded by ruling in

favor of Southern on all issues, and he unambiguously directed the Union to provide the ISL

within 45 days. As explained in greater detail in Atlas’ Motion to Dismiss the Union’s Petition

to Vacate the Atlas System Board Award, Arbitrator Nicolau, for his part, issued a decision that

recounted the parties’ arguments, concluded that the Union’s main argument was inapplicable,

and rejected its remaining arguments in ruling in favor of Atlas on all issues and ordering the

Union to provide the ISL within 45 days. See Mem. of Law in Support of Mot. to Dismiss Pls.’

Compl. and Pet. to Vacate Arbitration Award, Int’l Bhd. of Teamsters, Airline Division v. Atlas

Air, Inc., 1:19-cv-02723-CRC, Dkt. 4 (D.D.C. October 11, 2019); (Fact Statement ¶ 31.) Both

Arbitrators determined that requiring production of the ISL within 45 days was an appropriate

remedy for violation of the Merger Provisions, based on the evidence presented by the parties,

their experiences as arbitrators, and the considerable length of time that had passed in which the

Union had refused to comply with the Merger Provisions. (Fact Statement ¶¶ 26; 33.) As such,

the Union was obligated to deliver the ISL to Southern and Atlas by July 27, 2019 and October

10, 2019 respectively. It has failed and refused to do so, in blatant violation of both Awards.

       When a party has failed to comply with a date-certain deadline set down by an award, the

time is ripe to enforce the arbitration award. CSX Transp., Inc., 522 F.3d at 1194 (finding




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“failure to comply within the time limit established by the award the triggering event for

an enforcement action”). An order enforcing the Awards is therefore necessary and warranted.

           B. The Remedy Ordered by the Awards Does Not Violate the McCaskill-Bond
              Amendment

       In its complaint seeking to vacate the Atlas System Board Award, the Union alleged that

the portion of the Atlas Award ordering production of the ISL in 45 days violated seniority

integration procedures required by the McCaskill-Bond Amendment (“McCaskill-Bond”). See

49 U.S.C. § 42112, note 117. McCaskill-Bond requires that unions representing employees at

merging carriers, in certain circumstances, create an ISL in accordance with Sections 3 and 13 of

the Allegheny-Mohawk Labor Protection Provisions (“Allegheny-Mohawk”). 2 The Union’s

reference to McCaskill-Bond, however, is a ruse designed to create the inaccurate impression

that providing the ISL will require a lengthy process.

       First, McCaskill-Bond’s Allegheny-Mohawk requirement is inapplicable in the

circumstances of this seniority integration. McCaskill-Bond creates an exception for application

of a union’s own policy for integrating seniority lists when the employee groups at both carriers

– as is the case here – are represented by the same Union. See 49 U.S.C. § 42112, note 117(a)(l).

Notably, the Union did not argue in its opening statements or post-hearing briefs to the

arbitrators that use of the Allegheny-Mohawk procedures was required to formulate the ISL. 3

(Fact Statement ¶ 38.)




2
  Sections 3 and 13 of the Allegheny-Mohawk labor-protective provisions require negotiation,
and if needed interest arbitration, between the two pre-merger employee groups with regard to
formulation of an integrated seniority list. Flight Attendants in Reunion v. Am. Airlines, Inc.,
813 F.3d 468, 472 (2d Cir. 2016).
3
 See Bhd. of Maint. of Way Employees v. Union Pac. R. Co., No. CIV.A. 303CV0417D, 2004
WL 2296952, at *8 (N.D. Tex. Oct. 6, 2004) (“Courts have held that a party’s failure to raise a

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       Instead, at the Atlas arbitration hearing, Daniel C. Wells, then-President of Local 1224,

which represented both Atlas and Southern pilots at the time, testified that while the IBT Airline

Division did not have an applicable “written policy,” he was sure that the International

Brotherhood of Teamsters, in the past, had used a simple date-of-hire approach to integrate

seniority lists, without application of the Allegheny-Mohawk procedures. (Fact Statement ¶ 39.)

In fact, Mr. Wells testified at the Atlas hearing that there was available to him a “shortcut

procedure,” whereby the Union could “provide a sort of golden pathway forward that would

enable me to bring a lot of those [seniority] procedures together quickly and get it done.” (Fact

Statement ¶ 40.) The Union is therefore fully able, under McCaskill-Bond and the CBAs, to

comply with the portion of the Awards’ remedy requiring production of the ISL in 45 days.

       Moreover, nothing in either the Atlas or Southern CBA Merger Provisions, or the

Awards, requires that the Union present the final ISL to Atlas and Southern in order to start the

nine-month clock for formulation of the CBA. Nor does anything in the Awards require

implementation of the ISL provided by the Union prior to formulation of the JCBA or at any

specific time. Presentation of an ISL is merely the triggering event that begins the nine-month

clock for negotiation, and the Union is free to amend the ISL during the nine-month negotiation

period and any subsequent interest arbitration period if needed. The Union will therefore have

ample time, if it likes, to revise the ISL pursuant to whatever procedure it feels is warranted – but

only after it immediately delivers an ISL to Atlas and Southern in conformance with the Awards’

remedies.




defense at arbitration to a remedy considered by the arbitrator prevents the party from later
relying on the defense in an enforcement proceeding.”).


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                                         CONCLUSION

         The Union has failed and refused to provide the ISL to Atlas or Southern, despite being

required to do so by both Awards and despite subsequent written demands from Atlas and

Southern for immediate submission of an ISL. It is clear the Union will not immediately comply

with either Arbitrator’s Award until it receives an order from this Court specifically requiring it

to do so under pain of contempt sanctions. This Court should therefore issue an order enforcing

the Awards, requiring the Union immediately to provide Atlas and Southern with an ISL,

enforcing the nine-month period for negotiation of a JCBA beginning retroactive to October 11,

2019, and following the negotiations, requiring prompt participation in interest arbitration of any

unresolved bargaining issues.

Dated:    October 31, 2019                    Respectfully submitted,
          Washington, D.C.

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